                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CRIMINAL DOCKET NO. 5:09CR27-2-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                  ORDER FOR DISMISSAL
                                    )
(2) WILLIAM KEVIN INNES             )
___________________________________ )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment and

subsequent Superseding Bill of Indictment (as each relates to Defendant William Kevin Innes

only) in the above-captioned case without prejudice.



                                                Signed: April 27, 2011




    Case 5:09-cr-00027-KDB-DCK           Document 206        Filed 04/27/11      Page 1 of 1
